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                                                                                         FILED
                                                                                                      COUR T
                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGL T                           din (   2 6 , AM $' 1 7

                                   AUGUSTA DIVISION                       ; 'L ~sEi
                                                                                     .      ST. Gso    GA .
FELICIA LASHON GRANT, }
                       }
        Petitioner, )

       V.     )     CV                105-00 1
                                                          (Formerly CR 103-064-3)
UNITED STATES OF AMERICA ,

                Respondent.                     )


         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATIO N


       The captioned case comes before the Court on Petitioner' s motion to vacate, set

aside, or correct her sentence under 28 U .S .C . § 2255 . For the reasons stated below, the

Court REPORTS and RECOMMENDS that the motion be DENIED , that this civil action

be CLOSED, and that a final judgment be ENTERED in favor of the United States of

America ("the Government") .

1. BACKGROUN D

       A. Procedural History

        On January 9, 2004, Petitioner pled guilty to one count of conspiracy to produce false

identification documents (in violation of 18 U .S .C . § 371) and one count of producing a

fraudulent identification document (in violation of 18 U .S .C . § 1028) . CR 103-064, doc . nos .

71-73 . Petitioner, a former employee of the Georgia Department of Motor Vehicles, had

participated in a scheme to produce fraudulent driver's licenses and then sell them to illegal

aliens . Id., doc . nos. 16 & 72 . Petitioner was represented by her retained counsel, Mr .

Martin C . Puetz . On April 15, 2004, the Honorable Dudley H . Bowen, Jr ., United States
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District Judge, conducted a sentencing hearing and sentenced Petitioner to 36 months of

imprisonment as to each count, to be served concurrently . Judge Bowen entered judgment

on April 23, 2004 . Id., doc . no. 97 . Petitioner did not file .a direct appeal, but filed the

instant timely § 2255 motion on January 3, 2005 . Id., doc. no. 126 .

         B. Issues Raised

         Petitioner contends . 1) she should have been given a "downward departure" from the

sentence called for by the Federal Sentencing Guidelines ("Guidelines") because of her

cooperation with the Government, and Mr . Puetz should have argued as much ; 2) Mr. Puetz

"didn't ask [her] nor did he attempt to file an appeal ;" and 3) her sentence enhancements are

unconstitutional under Blakely v . Washington , 542 U .S . 296 (2004). Id., doc. no. 126, p. 4.

The Court held an evidentiary hearing to resolve "whether Petitioner instructed [Mr. Puetz]

to file an appeal."' Id ., doc. no. 146, p. 1 .

         C.       Factual Background

         A United States Probation Officer ("Probation Officer") prepared a Presentence

Report ("PSI') prior to Petitioner's sentencing . The Probation Officer determined that

Petitioner's base offense level was 1 I based on her violation of 18 U .S.C . § 1028(a) . PSI

¶22 . Because Petitioner's offense involved the production of at least 51 fraudulen t

documents, the Probation Officer applied a six-level increase to the base offense level

pursuant to U .S .S.G. § 2L2 .1(b)(2). Id . ¶23 . The Probation Officer also applied a two-level

enhancement pursuant to U .S.S.G. § 3B1 .3 based on Petitioner's abuse of a position of

public trust. Id. ¶25 . The Probation Officer next applied a three-level reduction t o



          'The Court appointed Mr . Glenn Scott Buff for the limited purpose of representing Petitioner at the
hearing . Id.

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Petitioner's offense level pursuant to U .S .S.G. § 3E1 .1 for acceptance of responsibility . Id.

¶28 . The resulting total offense level was 16, criminal history category 1, with an applicable

Guideline sentence range . of 21 to 27 months of imprisonment .

        The Probation Officer also noted that an upward departure under U .S.S .G. § 5K2 .0

"may be warranted"' because "[t]he Guidelines in this case failed to address the financial

gain of the defendant . . . as a result of payments from the illegal aliens who purchased

fraudulent licenses ."3 Id. ¶ 64 . In this regard, the Probation Officer noted :

        [P]ecuniary gain is not addressed in the provisions of U.S.S .G . § 2L2.1 .
        However, the provisions found in U .S .S.G. § 2B1 .1 do address economic
        gains from fraudulent activities . Pursuant to U .S .S.G . § 2B1 .1(b)(1)(D),
        fraudulent offenses resulting in a pecuniary gain of more than $30,000 but
        less than $70,000 call for a six-level increase in the offense level . This six-
        level increase represents a potential means for a guided upward departure in
        this case .

Id .

         Of note, the Government filed a U .S .S.G. § 5K1 .1 motion on Petitioner's behalf in

recognition of her substantial assistance .4 CR 103-064, doc . no . 87 . The Government also

filed a separate motion "to reduce [Petitioner's] offense level by one additional level

pursuant to U.S .S.G. § 3E1 .1(b) ." Id ., doe . no . 94, p. 1 . The Government presented

testimony from an agent in support of its § 5K1 .1 motion, and Mr . Puetz made extensive

arguments in support of a downward departure at sentencing . Sentencing Tr., pp . 33-44 . Mr.

Puetz also specifically objected to ¶ 64 of the PSI and argued against any upward departure .


       2Perhaps noteworthy, the Probation Officer did not actually recommend an upward departure, instead
recommending a sentence within the applicable Guideline range .

         3Petitioner "received a minimum total pecuniary gain of approximately $45,000." PSI ¶64 .

         4Upon being confronted by law enforcement officials , Petitioner admitted her guilt and agreed to
participate in a successful sting opera tion against her coconspirators . Sentencing Tr ., p . 34 .

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Id. at 27, 29-30 .

        Notwithstanding the arguments raised by the Government and Mr . Puetz on

Petitioner's behalf, Judge Bowen denied the Government's § 5K1 .1 motion and upwardly

departed to the aforementioned 36-month sentence . Id . at 52-55 . In support thereof, Judge

Bowen stated, "It is my view that the Sentencing Commission did not adequately take into

consideration the nefarious nature of a scheme such as this to produce, for a significant

monetary gain, false driver's licenses to people who obviouslywere illegal aliens ." Id. at 53 .

He also specifically informed Petitioner of her right to appeal based on the upward departure .

Id. at 56 . Nevertheless, Petitioner did not file a direct appeal .

         At the evidentiary hearing, Petitioner testified that during a discussion with Mr . Puetz

during the week prior to her sentencing, she instructed him to file a notice of appeal if Judge

Bowen decided to upwardly depart from the Guideline sentencing range . According to

Petitioner, Mr . Puetz agreed to file a notice of appeal in that event . Petitioner acknowledged

that she did not actually instruct Mr . Puetz to file an appeal at sentencing or at any time

thereafter, whether in person, via telephone, or in a letter . In short, according to Petitioner,

she had no contact with Mr . Puetz following the oral imposition of her sentence .

         Interestingly, according to Petitioner, she wanted to tell Mr . Puetz to file an appeal

 following Judge Bowen's oral pronouncement of sentence, but she did not have a chance to

do so . Petitioner testified that when she was remanded to custody, the United States Marshal

whisked her away from the courtroom before she could speak to Mr . Puetz.5 However,




         5Of note, Mr . Puetz offered the contrary testimony that he and Petitioner were in the courtroom
 together for several minutes following the imposition of sentence, but that Petitioner did not take this
 opportunity to instruct him to file an appeal .

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Petitioner stated that her family repeatedly attempted to contact Mr . Puetz in reference to

filing an appeal on her behalf. Petitioner could not provide when these alleged

communications between her family members and Mr . Puetz took place . Petitioner also

explained that, more than a month after she found out that Mr. Puetz had not filed a notice

of appeal, she and her family sought to retain another attorney, Mr . Ronald Garnett ,6 to

pursue a direct appeal of her case .

         In contrast, Mr . Puetz testified that, although he did inform Petitioner of her right to

appeal in the event of an upward departure, she never expressed any interest in pursuing an

appeal . Mr . Puetz also stated that, had Petitioner or her family directed him to file an appeal

before the time in which to do so expired, he would certainly have done so . Interestingly,

Mr . Puetz did acknowledge that he was contacted by one of Petitioner's family members, but

noted that this communication occurred well after the time to file an appeal had expired .

That said, Mr. Puetz admitted that, following the imposition of sentence, he never contacted

Petitioner or asked her whether she wanted to file an appeal .

         Mr . Puetz also recalled that Mr. Garnett called his office and asked to see a copy of

Petitioner's PSI, although he was not sure when . In a letter dated July 15, 2004, Mr. Puetz

informed Mr. Garnett that he did not feel comfortable turning over the confidential PSI to

Mr. Garnett . Mr . Puetz could not recall any further details regarding Mr . Garnett .

         In rebuttal, Petitioner called her aunt, Ms . Katrina Archer Bentley, as a witness . Ms.

Bentley offered the remarkable testimony that, within 48 hours of her sentencing, Petitioner

was transported to the Federal Prison Camp in Marianna, Florida . As a result, Petitioner wa s


        6It should be noted that Mr . Garnett was disbarred from the practice of law by the Supreme Court of
Georgia on September 27, 2004 . In re Garne tt, 278 Ga . 527, 603 S .E.2d 281 (2004) (per curiam) .

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purportedly unable to communicate with Mr . Puetz . Instead, Ms . Bentley allegedly began

taking immediate action on Petitioner's behalf. Ms . Bentley allegedly made several phone

calls and even made two personal visits to Mr . Puetz's office on Petitioner's behalf. Ms.

Bentley maintains that she took those actions before the ten-day period in which to appeal

had expired. Of note, Ms . Bentley also offered that her first visit to Mr. Puetz's office

allegedly occurred one week after Petitioner was "incarcerated ." According to Ms . Bentley,

Mr . Puetz told her that he would not file a notice of appeal because Petitioner had not paid

him for his representation .

        Frustrated by Mr. Puetz's alleged refusal to represent Petitioner on appeal, Ms .

Bentley then retained Mr. Garnett . According to Ms . Bentley, she asked Mr . Garnett to file

an appeal before the ten-day period in which to appeal had expired . Nevertheless, Mr .

Garnett took no action on Petitioner 's case . Ms. Bentley later learned that Mr . Garnett had

been disbarred . See footnote 6, supra .

        Having set forth the relevant background and the factual contentions at issue, the

Court resolves the matter as follows .

II. DISCUSSION

        A. Ineffective Assistance of Counsel

                1 . Lost Right to Appeal

       Petitioner's skeletal § 2255 motion alleges only that Mr . Puetz "didn't ask [her] nor

did he attempt to file an appeal ." CR 103-064, doc . no. 126, p. 4. The motion does not

mention Mr . Garnett, nor explicitly state that Mr . Puetz ignored her instructions to file a

notice of appeal . Nevertheless, as Petitioner filed her § 2255 motion pro se, the Court



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construes her motion liberally, see Haines v . Kerner , 404 U .S. 519, 520-21 (1972) (per

curiam), to state two claims : 1) that Mr . Puetz unreasonably failed to consult with Petitioner

regarding whether to appeal, and 2) that Mr . Puetz failed to file a notice of appeal despite

explicit instructions from Petitioner . Before addressing these claims, the Court will explain

the applicable principles of law .

        First, cases in which a criminal defendant explicitly instructs her attorney to file a

notice of appeal are subject to a bright-line rule . "[A]n attorney's failure to file an appeal

after the defendant requests him to do so entitles the defendant to an out-of-time appeal, even

without a showing that there would have been any viable grounds for an appeal ."

Montemoino v. United States , 68 F .3d 416, 417 (11th Cir. 1995) (per curiam) ; see also Roe

v . Flores-Ortega, 528 U.S . 470, 477 (2000) . Thus, if the Court determines that Mr . Puetz

failed to honor a request to file a notice of appeal, it must grant Petitioner's § 2255 motion

on that score .

        On the other hand, the issue of defense counsel's duty to consult with his client

regarding an appeal is not subject to a per se rule. If the Court determines that Mr . Puetz

failed to consult with Petitioner regarding an appeal, it must assess whether such failure : 1)

was professionally unreasonable, and 2) resulted in prejudice to Petitioner . Flores-Ortega ,

528 U .S . at 478-79 (citing Strickland v. Washington, 466 U .S . 668, 688 (1984)) . Defense

counsel does not have an absolute duty "to discuss the possibility of an appeal with the

defendant, ascertain [her] wishes, and act accordingly" in every case . Id . at 478 . Of

particular note, the Supreme Court has explained that there is no duty to consult where the

"sentencing court's instructions to a defendant about [her] appeal rights in a particular cas e


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are so clear and informative as to substitute for counsel's duty to consult ." Id. at 479-80.

Furthermore, it is not professionally unreasonable for counsel to neglect to consult with the

defendant about an appeal when "the defendant does not express any interest in appealing,

and counsel concludes that there are no nonfrivolous grounds for appeal ." Id . at 479 .

        If it can be shown that defense counsel unreasonably failed to consult with his client

regarding an appeal, this does not resolve the issue . The Court must then consider whether

any actual prejudice has resulted . In this regard, Petitioner must "demonstrate that there is

a reasonable probability that, but for counsel's deficient failure to consult with [her] about

an appeal, [she] would have timely appealed ." Id . at 484. Simply put, a defendant who is

fully aware of her right to appeal, but chooses not to, cannot later complain that her counsel

was ineffective for failing to consult with her regarding an appeal . Id.

        Having set forth the applicable rules of law, the Court resolves Petitioner's claims

regarding her lost right to appeal . The threshold issue here is credibility. Is the Court to

believe Mr. Puetz or the self-serving allegations of Petitioner and her aunt, Ms . Bentley?

Generally, when the testimony conflicts, the Court, as fact finder and "ultimate judge of the

credibility and demeanor of witnesses," must believe one witness over the other . McCoy V.

Newsome , 953 F .2d 1252, 1262 (11th Cir . 1992) (per curiam) . More specifically, the

determination of the credibility of a testifying attorney during an evidentiary hearing on a

claim of ineffective assistance of counsel is a matter within the Court's good discretion . See

Carr v . Schofield 364 F .3d 1246, 1264-65 (11th Cir .), cert. denied, 543 U .S. 1037 (2004) .

       Here, the Court specifically credits the testimony of Mr . Puetz over that of Petitioner

and Ms. Bentley. Mr . Puetz, who has practiced as a criminal defense attorney for twenty-


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eight years, is well-known to the Court . He has demonstrated himself to be an ethical, able,

and zealous advocate for his clients . The Court finds any notion that Mr . Puetz would ignore

Petitioner's express wishes and then lie to this Court about his communications with

Petitioner or her family incredible . Simply put, any attempt by Petitioner to besmirch Mr .

Puetz's character fails .

        At the evidentiary hearing, Mr . Puetz maintained quite adamantly that Petitioner

never instructed him to file an appeal or even expressed any interest in appealing . Mr. Puetz

also testified that Petitioner was well aware of her right to appeal and had ample opportunity

to request him to file a notice of appeal before the time in which to appeal expired . Mr .

Puetz did provide that he had one interaction with one of Petitioner's family members, but

that this conversation occurred well after the time to appeal had expired . According to Mr .

Puetz, sometime after his interaction with this family member, he was contacted by Mr .

Garnett. Based on Mr . Puetz's testimony, the Court FINDS : 1) Petitioner never asked Mr .

Puetz to file a notice of appeal, and 2) well after the ten-day period of file a notice of appeal

under Fed . R. App. P . 4(b)(1) had expired, relatives of Petitioner contacted Mr. Puetz and

then Mr . Garnett about an appeal.

        In making these findings, the Court should note a few obvious problems with the

testimony offered to contradict Mr . Puetz's version of the events . First, Petitioner's

contention that she was spirited out of the courtroom at sentencing before she could instruct

Mr. Puetz to file a notice of appeal is unbelievable . The suggestion that Judge Bowen or the

United States Marshal would act to prevent a criminal defendant from discussing her desire

to file an appeal with her attorney is simply not credible . Regardless, Petitioner's averment


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regarding her immediate remand to the custody of the Marshal does not explain her admitted

failure to contact Mr . Puetz at any time after her sentencing . It would have been a simple

matter to write Mr . Puetz a letter expressing her wishes . Instead, there is a convenient lack

of evidence regarding whether Petitioner or her family ever contacted Mr . Puetz (or Mr.

Garnett) regarding Petitioner's alleged desire to appeal before the period for filing a notice

of appeal had elapsed .

       Next, there is the fact that Petitioner's and Ms . Bentley's testimony regarding when

the family sought the services of Mr . Garnett are plainly contradictory . Ms. Bentley avers

that she contacted Mr. Garnett before the period in which to appeal expired . In contrast,

Petitioner provided that her family contacted Mr . Garnett more than a month after the family

reportedly learned that Mr . Puetz would not file an appeal . Of course, Mr. Puetz's alleged

July 15, 2004 letter to Mr . Garnett supports the Court's conclusion that Ms . Bentley did not

contact Mr. Garnett until well after the period to file an appeal had expired.

        Furthermore, Ms . Bentley's dubious contention that Petitioner was transported to

Marianna, Florida within 48 hours of her sentencing casts doubt upon Ms . Bentley's entire

testimony. In fact, as the attached records from the United States Marshal indicate, Petitioner

was not turned over to the custody of the Bureau of Prisons and transported to the Federal

Prison Camp in Marianna, Florida until May 21, 2004--well after the time to file an appeal

had expired . See Attach. A. Accordingly, Petitioner's and Ms . Bentley's assertion that

Petitioner could not get in touch with Mr. Puetz because she was incarcerated in Florida rings

hollow. In sum, Petitioner's and Ms . Bentley's self-serving testimony is simply not credible .

         Having dispensed with Petitioner's claim that Mr . Puetz ignored an explicit request


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to file an appeal, the Court must address whether Mr . Puetz unreasonably failed to consult

with Petitioner regarding whether she wanted to appeal . Mr. Puetz admits that he did not

consult with Petitioner about an appeal following her sentencing.

        Nevertheless, both Mr . Puetz and Petitioner agree that he informed her of her right

to appeal in the event of an upward depa rture and that Judge Bowen specifically informed

Petitioner of her appeal rights at sentencing . At the evidentiary hearing , Mr . Puetz contended

that, despite being fully aware of her rights , Petitioner never expressed any interest in an

appeal . Given these facts, the Court does not find that Mr . Puetz acted unreasonably in

failing to contact Petitioner to ascert ain whether she wished to appeal her sentence . In

addition , as will be discussed in greater detail infra, Petitioner has not identified the

existence ofany non-frivolous issue which should have prompted Mr . Puetz to ask Petitioner

if she wanted to appeal . Given these facts, the Court cannot conclude that Mr . Puetz's

actions were objectively unreasonable.

        Regardless , it is apparent that Petitioner was aware of her right to appeal and could

have contacted Mr. Puetz and requested him to fi le a notice of appeal if she had desired to

do so . Consequently, even assuming arguendo that Mr . Puetz's performance was deficient,

Petitioner has not shown that Mr . Puetz's failure to consult with her about an appeal resulted

in any actual prejudice . Given these facts , Petitioner has not shown a reasonable probability

that, but for Mr. Puetz ' s failure to consult with her , she would have timely appealed her

sentence .

        Of course, there remains the fact that Petitioner 's family asked Mr . Puetz and Mr .

Garnett to pursue an appeal on Petitioner ' s behalf. Nevertheless , crediting Mr. Puetz' s


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testimony, it is clear that Petitioner's relatives, including Ms . Bentley, took no action until

after the time to appeal had expired . Ms . Bentley's self-serving contention that she made a

flurry of phone calls and two visits to Mr . Puetz's office (upon traveling down to Augusta

from her home in Stone Mountain, Georgia) before the ten-day period to appeal elapsed

simply cannot be taken at face value . Similarly, the Court finds it unlikely that Ms . Bentley

contacted Mr . Garnett during the ten-day period .

        Because Petitioner and her family waited until some time after the period to file an

appeal had expired to take any action, Petitioner's ineffective assistance of counsel claims

must fail . Contacting Mr. Puetz and Mr. Garnett about an appeal after the time in which to

appeal had elapsed did not revive Petitioner's right to appeal . Simply put, Petitioner and her

family decided too late that she wanted to appeal, and no relief is warranted .

                2.      Mr. Puetz ' s Performance at Sentencing

        Next, the Court addresses Petitioner's argument that Mr . Puetz should have argued

for a downward departure . CR 103-064, doc. no . 126, p. 4. As noted, both Mr. Puetz and the

Government argued extensively for a downward departure based on Petitioner's assistance

in a successful sting operation against her co-defendants . Sentencing Tr ., pp . 33-44 . Mr .

Puetz pointed out, inter alia: 1) Petitioner's cooperation was essential to the aforementioned

sting operation against her co-defendants ; 2) Petitioner "went through" records at "her

department" in an effort to help law enforcement find the "fictitious licenses" she had issued;

3) Petitioner had accepted responsibility for her actions and admitted her guilt ; and 4) since

her termination from the Department of Motor Vehicles, Petitioner had gone back to school,

become a licensed phlebotomist, and secured honest employment . Id. at 37-42 . Mr. Puet z


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also argued against an upward departure by arguing that the Petitioner's six level

enhancement based on the number of fraudulent documents produced sufficiently accounted

for Petitioner's financial gain because it was hard to "imagine that someone would be

producing [that many documents] for free ." Id . at 28 . Simply put, there is no reason to

suppose that Mr. Puetz's performance at sentencing was deficient in any way . Put plainly,

Petitioner's argument that Mr . Puetz was ineffective at sentencing is frivolous and does not

merit further discussion.

       B . Remaining Claims

               1. Entitlement to Downward Departure

       Having addressed Petitioner's ineffective assistance of counsel claims, the Court

turns to her substantive attacks on her sentence, which are likewise frivolous . First,

Petitioner argues that she was entitled to a downward departure . This contention may also

be understood as an implicit argument that Judge Bowen's decision to upwardly depart was

error. Neither claim has merit.

        First, Petitioner had no entitlement to a downward departure . Rather, the decision

to grant or deny the Government's request for downward departure was squarely within

Judge Bowen's discretion . Indeed, a criminal defendant may not appeal the district court's

refusal to grant a motion for downward departure unless the court erroneously believed it

lacked the authority to grant the departure . See United States v. Anderson , 326 F .3d 1319,

1333 (11th Cir . 2003) ;see also United States v. McVay, No. 04-13455, _ F .3d _, 2006 WL

1193212, at * 5 (11th Cir . May 5, 2006) . Judge Bowen was aware of his authority to

downwardly depart, but rejected the invitation to do so . In sum, Judge Bowen's refusal t o


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grant a downward departure is not subject to attack, either in a direct appeal or a § 2255

proceeding . See United States v. Winingear , 422 F .3d 1241, 1245-46 (11th Cir. 2005) .

        Nor was Judge Bowen's decision to upwardly depart from the Guideline sentencing

range under U .S.S .G. § 5K2.0 erroneous . To begin, the Court should note that, absent a

miscarriage of justice, an upward departure cannot be challenged in a § 2255 proceeding .

United States v. Faubion, 19 F .3d 226, 232-33 (5th Cir . 1994) . More generally, alleged

errors concerning the Guidelines are not usually cognizable on collateral attack .

Montemoino, 68 F.3d at 417 . "Because a defendant has the right to directly appeal a

sentence pursuant to the Sentencing Guidelines, the defendant is precluded from raising

Guidelines issues in collateral proceedings under § 2255 ." Martin v. United States , 81 F .3d

1083, 1084 (11th Cir . 1996) .

        That said, even upon direct appeal, the district court's decision to upwardly depart

is subject to review only for an abuse of discretion . United States v. Williams, 340 F.3d

1231,1243 (11th Cir. 2003) . The district court may upwardly depart whenever it determines

the existence of an aggravating circumstance, not adequately taken into consideration by the

Sentencing Commission in formulating the Guidelines, which should result in a greater

sentence than that called for by the Guidelines . United States v . Melvin 187 F .3d 1316,1320

(11th Cir . 1999)(quoting 18 U .S .C. § 3553(b)) .

        Here, Judge Bowen determined that an upward departure was warranted because the

applicable Guideline provision (U .S.S.G. § 2L2 .1) did not address the financial gains

Petitioner derived from her criminal conduct . PSI ¶64 ; Sentencing Tr., pp . 53-54 . On the

other hand, U .S .S.G. § 2B1 .1(b)(1)(D) calls for a six level increase for fraudulent offense s


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resulting in a monetary gain between $30,000 and $70,000 .. Accordingly, Judge Bowen

relied upon U . S.S.G. § 2B 1 . 1 as a basis for a guided upward departure. PSI ¶ 64. Petitioner

has outlined no reason to suppose that the departure was not warranted, and the Court is

aware of none.

        Indeed, the instant case was clearly outside the heartland ofthe Guidelines . Petitioner

provided illegal aliens with driver' s licenses for $500 apiece .      This is not a scenario

contemplated by U.S .S.G. § 2L2 . 1 . That an American citizen would commit such a crime

after the tragedy of September 11, 2001 is almost unfathomable --almost, because Petitioner

did so repeatedly. As Judge Bowen pointed out at sentencing, the whereabouts and identities

of most of the illegal aliens who procured fraudulent licenses from Petitioner have not been

ascertained. Thus, the harm Petitioner has done to this Nation remains unknown an d can

hardly be overestimated .    Sentencing Tr., pp. 50-51 . Given these facts, Judge Bowen

properly tu rned to an analogous Guideline provision in assessing whether ( and how much)

to upwardly depart from the Guideline range . Cf. United States v. Guzman , 282 F .3d 177,

181-82 (2d Cir . 2002) (district court properly consulted analogous Guideline provision upon

determining that applicable Guideline range did not take in account the seriousness of

defend ant's actions as a "broker" for illegal aliens seeking to obtain New York driver's

licenses ). In sum, Petitioner's claims regarding the upward departure lack meri t.

                 2.     Blakely Cha lleng e

        Finally, Petitioner 's attempt to challenge her sentence under Blakely is not a

cognizable basis for relief under § 2255 . Neither Blakely nor the Supreme Court's more




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recent decision in Booker v . United States , 543 U.S . 220 (2005), apply retroactively to cases

on collateral review .' Varela v. United States, 400 F .3d 864, 868 (11th Cir. 2005) . In sum,

Petitioner' s claims lack merit and her § 2255 motion should be denied .

III . CONCLUSION

        For the foregoing reasons , the Court finds that Petitioner is not entitled to relief under

§ 2255 . The Court therefore REPORTS and RECOMMENDS that the § 2255 motion be

DENIED, that this civil action be CLOSED, and that a FINAL JUDGMENT be

ENTERED in favor of the Government .

         SO REPORTED and RECOMMENDED this 4ay of May, 2006, at Augusta,'

Georgia.



                                                       W. LEON B4RFIE
                                                       UNITED STATES MAGISTRATE JUDG E




         'Petitioner's conviction became final on May 7, 2004, ten days after entry of her sentencing judgment,
before the Supreme Court decided Blakely (June 24, 2004) or Booker (January 12, 2005) .

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